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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


                                                  )
 UNITED STATES OF AMERICA                         )
                                                  )        Criminal No. 17-201 (ABJ)
                      v.                          )
                                                  )        UNDER SEAL
 PAUL J. MANAFORT, JR.,                           )
                                                  )        REDACTED
                           Defendant.             )
                                                  )

 DEFENDANT PAUL J. MANAFORT JR.’S REPLY TO THE SPECIAL COUNSEL’S
DECLARATION AND EXHIBITS IN SUPPORT OF ITS BREACH DETERMINATION

          Defendant Paul J. Manafort, Jr., by and through counsel, respectfully submits his response

to the Office of Special Counsel’s declaration and exhibits in support of its determination that Mr.

Manafort breached the plea agreement in this case. (Doc. 474).

          Introduction

          In support on its breach determination, the Office of Special Counsel (“OSC”) has filed a

31-page declaration of FBI Special Agent Jeffrey Weiland, along with more than 800 pages of

exhibits. The submission purports to provide the evidence supporting the OSC’s contention that

Mr. Manafort lied to investigators during meetings with the government. A fair reading of the

document, however, does not support the conclusion that Mr. Manafort intentionally provided false

information. Rather, when placed in proper context, much of the evidence presented by the OSC

merely demonstrates a lack of consistency in Mr. Manafort’s recollection of certain facts and

events.     Indeed, many of these events occurred years ago, or during a high-pressure U.S.

presidential campaign he managed when his time was extraordinarily limited, or during the

difficult time that followed his departure from the 2016 presidential campaign because of the

allegations leveled at him and the investigations that followed.
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        I.        Payment to

        The OSC alleges that Mr. Manafort made “seriatim, inconsistent statements” in response

to questions about a $125,000 payment made on Mr. Manafort’s behalf in 2017. (Doc. 474 at 3,

¶7). As noted previously, from the outset the discussion of this topic with Mr. Manafort was the

subject of confusion, beginning with the OSC mistakenly claiming that the payment was much

larger than $125,000. Rather than setting out the facts and documents for Mr. Manafort and asking

questions about them, the OSC’s approach was to test Mr. Manafort’s recall by revealing details

along the way.1 As a result, Mr. Manafort had difficulty recalling the precise history of the

payment; nevertheless, he explained it to the best of his recollection. Mr. Manafort explained that

he asked            for assistance with                                               and that           , in

turn, talked to                 , whose company ultimately made the $125,000 payment. This is

consistent with the OSC’s facts. As Mr. Manafort clarified to the OSC, there was no agreement

about the terms of the payment of Mr. Manafort’s legal fees. This resulted in confusion as to

whether the funds amounted to a loan, income, or even a gift. In an abundance of caution, Mr.

Manafort ultimately reported the amount as income on his tax returns.

        The OSC claims Mr. Manafort’s first statement – about the money being a repayment of a

loan by                 – was a lie. (Doc. 474 at 3, ¶7). This statement was Mr. Manafort’s best

recollection of how the payment came about. He approached                       for help, in part, because

           owed him money.2 It is also true that his contact with             led to the eventual payment

from                .



1
  The government is, of course, free to proceed in this manner if it so chooses. It is unusual, however, in a
situation where the defendant has agreed to cooperate with the government for prosecutors not to provide
documentation in advance in order to refresh the recollection of the witness about past events.
2
  While Gov. Ex. 11 shows a $20,000 debt, Mr. Manafort explained he had provided other financial help to
         . Mr. Manafort never suggested that the entire amount was a loan repayment.
                                                     2
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        The OSC next claims that Mr. Manafort’s statement about                         was a lie. (Doc.

474 at 3-4, ¶7). Again, Mr. Manafort was trying to reconstruct the reason he ultimately received

money from                              , rather than directly from           , and remembered that he

had spoken to                about the money at some point. He was not attempting to lie or mislead

the government; clearly, he had difficulty remembering the details of what occurred.

        Finally, the OSC claims that Mr. Manafort lied when he discussed that the payment might

have been a loan. (Doc. 474 at 4, ¶7). This discussion was aimed at explaining the loan agreement,

which Mr. Manafort had not remembered previously, and his continuing confusion about how the

money was being treated by the payor. The uncertainty of the terms of the payment were verified

by Mr. Manafort’s civil attorney and accountant.

        Importantly, it should be noted that Mr. Manafort reported the payment on his own tax

return as income. See Gov. Ex. 15. Further, Mr. Manafort identified that the payment came from

                                                            . Id. At bottom, then, there was no attempt

to conceal the payment or the source on the income tax return that he filed with the government,

and he ultimately chose to report the payment as income—the most tax disadvantageous manner

in which it could have been handled.

        II.     Mr. Kilimnik’s Role in the Witness Tampering Conspiracy

        The OSC claims Mr. Manafort made false statements regarding Mr. Kilimnik’s role in the

witness tampering conspiracy. (Doc. 464 at 7-8, ¶15). Reviewing the FBI 302 (Gov. Ex. 10), Mr.

Manafort was not expressing his own views, but was providing Mr. Kilimnik’s stated view

regarding the witness tampering charges.3 Indeed, after the OSC expressed concern to Mr.


3
  Mr. Manafort’s statements that Mr. Kilimnik “did not believe he was suborning perjury” and “did not feel
that he exerted any pressure” are expressions of Mr. Manafort’s understanding based upon what Mr.
Kilimnik said, in the same way that Mr. Kilimnik “thought it was crazy that he had been indicted.” See
Gov. Ex. 10, at 6.
                                                    3
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Manafort that what he was saying was inconsistent with his prior statements about the offense, Mr.

Manafort explained that he was not attempting to back away from his prior statements about

conspiring with Mr. Kilimnik and he confirmed his prior statements, as the FBI 302 indicates.4

        III.    Interactions with Mr. Kilimnik

        a.

        The OSC claims that Mr. Manafort made false statements regarding his interactions with

Mr. Kilimnik and                                         . (Doc. 464 at 12-13, ¶29-32). Mr. Manafort

did his best to recall his interactions regarding                                          and openly

discussed the                    meeting with Mr. Kilimnik that occurred in New York. (Gov. Ex. 101,

at 4-6). The OSC claims, though, that Mr. Manafort’s statements –

                                                                          – were false.

        During the interview, there was continual confusion when discussing

          because Mr. Manafort differentiated between the                                 discussed at

the                                         , which Mr. Manafort did not feel would work and did not

support, and

                                    . While Mr. Manafort did not initially recall Mr. Kilimnik’s follow

up contact about                                  , after his recollection was refreshed by showing him

                     email, he readily acknowledged that he had seen the email at the time.5 Mr.

Manafort also volunteered that he had communications with Mr. Kilimnik in

      about                 .6




4
  See Gov. Ex. 10, at 6.
5
  See Gov. Ex. 206, at 4.
6
  Id. at 5.
                                                     4
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          b.                    Meeting

          The OSC contends that Mr. Manafort lied about his

                                 . (Doc. 464 at 14-15, ¶33-35). In particular, the OSC alleges that in

one interview Mr. Manafort stated

                                      and, subsequently, Mr. Manafort said

                            . Contrary to the OSC’s allegations, these statements are not inconsistent.

First, during the interview, Mr. Manafort noted that while



               .7 Second, the statements Mr. Manafort made to the grand jury



                                                                   8



          c.                              Meeting

          In connection with the           meeting, the OSC claims that Mr. Manafort was untruthful

because he did not remember that                                                    . Mr. Manafort’s

                 related was to his           business investment and, initially, on September 11, he

said that he did not                           . He simply did not remember                . However,

the next day, the OSC produced                                         for Mr. Manafort and he readily

acknowledged that                                                                     . On September

13, after having an opportunity to think more about the matter, Mr. Manafort was able to provide

the OSC with information about his                                 . Mr. Manafort’s failure of memory

is not akin to a false statement and he willingly provided information once he recalled the meeting.


7
    See Gov. Ex. 209, at 3.
8
    See Gov. Ex. 4, at 44-45.
                                                    5
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          d.

            The OSC also argues that, prior to his grand jury testimony, Mr. Manafort failed to

mention a

                                     . This information did not come up during prior questioning,

however, because

                                . When questioned in the grand jury, Mr. Manafort

                                               .

          The OSC takes issue with Mr. Manafort’s grand jury testimony

                                                                                           . While Mr.

Manafort’s prior interview indicated



                                                                           .9 The OSC also raises Mr.

Manafort’s testimony regarding



                                                            .10

          e.

          The OSC challenges Mr. Manafort’s statement that

                                                                  . The OSC notes that when asked about

whether he told anyone to give



                                                                                   Mr. Manafort noted,


9
    See Gov. Ex.4, at 112-116 and Gov. Ex. 238, at 3-4.
10
     See Gov. Ex. 18, at 7-8; see also Gov. Ex. 4, at 121

                                                                          .
                                                      6
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however, that                                                                            . The OSC

relies on Mr. Gates testimony in an effort to contradict Mr. Manafort. However, Mr. Gates

recollection

           . Mr. Gates further noted that



     .11

           IV.    Another DOJ Investigation

           As argued in the defendant’s prior response, even if Mr. Manafort’s statements relating to

the other DOJ investigation are viewed as inconsistent, they were corrected by Mr. Manafort

during the same interview. There statements do not support a conclusion that he intentionally lied;

indeed, defense attorneys routinely refresh the recollection of their clients during meetings with

government prosecutors. Such sessions are often stressful for witnesses and there is nothing

unusual or inappropriate in refreshing a witness’ recollection.

           V.     Contact with the Administration

           During an October 16, 2018 interview, Mr. Manafort stated that he did not communicate

with anyone in the Administration at the time they were in the Administration and he never asked

anyone to try to communicate a message to anyone in the Administration.12 The OSC claims this

was a false for several reasons. (Doc. 464 at 28-30, ¶69-72).

           The OSC suggests that in subsequent grand jury testimony



                                                                                  .13 The grand jury



11
   See Gov. Ex. 223.
12
   See Gov. Ex. 10, at 2.
13
   See Gov. Ex. 4, at 215.
                                                   7
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testimony, however, is consistent with Mr. Manafort’s prior statements.




                   14



        The OSC also points to text messages                                     as evidence of

Mr. Manafort’s misstatements. However, in an interview of October 16, 2018, Mr. Manafort

specifically told the OSC about

                     .15 These text messages are therefore consistent with Mr. Manafort’s prior

statements.     Additionally, the text messages do not reference



                                                                                    .

        The OSC also alleges Mr. Manafort’s statements about Administration contacts are false

based upon a series of communications that Mr. Manafort had with                        during in

May and June 2018. However, the OSC misreads the events referenced in these text messages. In

the first series of messages,                  contacted Mr. Manafort for

     .16 Mr. Manafort did not make any contact with anyone and the messages do not suggest

otherwise. The OSC relies on a set of notes to assume that he had such contact.17 Mr. Manafort




14




15
   See Gov. Ex. 10, at 226-27.
16
   See Gov. Ex. 402.
17
   See Gov. Ex. 404.
                                                8
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explained

                                  .18

          In a second series of messages,                asked Mr. Manafort for permission to use

his (Manafort’s) name as an introduction in the event he met the President at a future meeting.19

Here again, these text messages to do not amount to contact with the Administration, either direct

or indirect.

          Finally, while Mr. Gates may have stated




                                    .

                                                ***

          Based upon the pleadings and record, Mr. Manafort does not believe the materials supplied

by the OSC demonstrate any intentional falsehoods on this part. This is particularly so given the

relatively few issues identified based on more than 12 proffer and interview sessions. Finally, Mr.

Manafort believes that the information the Court has received, including pleadings and various

exhibits, provide a sufficient factual record to allow the Court to decide the issues presented

without the need for additional evidence.

Dated: January 23, 2019                               Respectfully submitted,

                                                       /s/
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18
     See Gov. Ex. 4, at 226-27.
19
     See Gov. Ex. 405.
                                                  9
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